       Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 1 of 44 PAGEID #: 1



1                                 UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
2

3    SPENCER NEAL, on behalf of himself            )      CASE NO.:
     and all others similarly situated,            )
4                                                  )       CIVIL RIGHTS
                    Plaintiff,                     )
5
                                                   )       COMPLAINT FOR INJUNCTIVE
6           vs.                                    )       RELIEF AND DAMAGES:
                                                   )
7    SCIOTO DOWNS, INC.,                           )      1ST CAUSE OF ACTION: For Denial of
     d/b/a ELDORADO GAMINGG SCIOTO                 )      Access by a Public Accommodation in
8
     DOWNS,                                        )      Violation of the Americans with Disability
9                                                  )      Act of 1990 (“Title III” and “ADA”),
            &                                      )      42 U.S.C. §§ 12181 et seq.
10                                                 )
     COLUMBUS SOUTHEAST HOTEL                      )      2ND CAUSE OF ACTION: For Denial of
11
     GROUP LLC,                                    )      Access by a Public Accommodation in
12   d/b/a HAMPTON INN & SUITES                    )      Violation of Ohio Revised Code 4112.02, et
     COLUMBUS SCIOTO DOWNS,                        )      seq.
13                                                 )
                    Defendants.                    )       3RD CAUSE OF ACTION: For Denial of
14
                                                   )       Access by a Public Accommodation in
15                                                 )       Violation of Ohio Administrative Code
                                                   )       4101:1-11, et seq.
16
            Plaintiff SPENCER NEAL, on behalf of himself and all other similarly situated persons
17

18   with mobility disabilities, hereby Complains of Defendants SCIOTO DOWNS, INC. and

19   COLUMBUS SOUTHEAST HOTEL GROUP LLC, and alleges as follows:
20
     INTRODUCTION:
21
            1.      This is a civil rights action for discrimination against persons with physical
22
     disabilities, of which plaintiff NEAL is a member of, for failure to remove architectural barriers
23

24   structural in nature at Defendant’s SCIOTO DOWNS, INC.’s racino facility and COLUMBUS

25   SOUTHEAST HOTEL GROUP LLC’s connecting hotel, places of public accommodation,
26
     thereby discriminatorily denying plaintiff access to, the full and equal enjoyment of, opportunity
27
     to participate in, and benefit from, the goods, facilities, services, and accommodations thereof.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 1
       Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 2 of 44 PAGEID #: 2



1    NEAL, on behalf of himself and all others similarly situated, seeks injunctive relief and damages
2
     pursuant to the Americans with Disability Act of 1990 (“title III” AND “ADA”), 42. U.S.C. §§
3
     12181 et seq.; Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code § 4101:1-
4
     11, et sec.
5

6              2.   NEAL is a person with physical disabilities who, on or about November 16, 2019,

7    November 17, 2019, January 30, 2020, January 31, 2020, and August 3, 2020 (racino only), was
8
     an invitee, guest, patron, or customer at ELDORADO GAMINGG SCIOTO DOWNS and
9
     HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS, in the City of Columbus, Ohio.
10
     At said time and place, Defendants failed to provide proper legal access to ELDORADO
11

12   GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO

13   DOWNS, which are public accommodations and/or public facilities. The denial of access was in
14
     violation of both federal and Ohio legal requirements, and NEAL suffered violations of his civil
15
     rights to full and equal access and was embarrassed and humiliated.
16
     JURISDICTION AND VENUE:
17

18             3.   Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.

19   §1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.
20
     Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
21
     nucleus of operative facts and arising out of the same transactions, are also brought under
22
     parallel Ohio law, whose goals are closely tied with the ADA, including but not limited to
23

24   violations of Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code § 4101:1-11,

25   et sec.
26
               4.   Venue: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is
27
     founded on the facts that the real property which is the subject of this action is located in this
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 2
       Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 3 of 44 PAGEID #: 3



1    district at/near 5950/6000 South High Street, in the City of Columbus, County of Franklin, State
2
     of Ohio and that NEAL’s causes of action arose in this district.
3
     PARTIES:
4
            5.      NEAL is a “physically handicapped person,” a “physically disabled person,”
5

6    and a “person with physical disabilities.” (Hereinafter the terms “physically disabled,”

7    “physically handicapped” and “person with physical disabilities” are used interchangeably, as
8
     these words have similar or identical common usage and legal meaning.) NEAL is a “person
9
     with physical disabilities,” as defined by all applicable Ohio and United States laws. NEAL
10
     requires the use of a wheelchair to travel about in public. Consequently, NEAL is a member of
11

12   that portion of the public whose rights are protected by the provisions of Ohio Revised Code §

13   4112.02, et seq. and Ohio Administrative Code § 4101:1-11, et sec. NEAL is a resident of
14
     Columbus, Ohio.
15
            6. Defendant SCIOTO DOWNS, INC., doing business as ELDORADO GAMINGG
16
     SCIOTO DOWNS, an Ohio Corporation for Profit, is the owner and operator, lessor and/or
17

18   lessee, or agents of the owners, lessors and/or lessees, franchisor and/or franchisee, of the

19   building and/or buildings which constitute a public facility in and of itself, occupied by
20
     ELDORADO GAMINGG SCIOTO DOWNS, a public accommodation, located at/near 6000
21
     South High Street, Columbus, Ohio, and subject to the requirements of Ohio state law requiring
22
     full and equal access to public facilities pursuant to Ohio Revised Code § 4112.02, et seq., Ohio
23

24   Administrative Code § 4101:1-11, et sec., and subject to the Americans with Disability Act of

25   1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and to all other legal requirements
26
     referred to in this complaint.
27
            7. Defendant COLUMBUS SOUTHEAST HOTEL GROUP LLC, doing business as
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 3
       Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 4 of 44 PAGEID #: 4



1    HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS, an Ohio Limited Liability
2
     Company, is the owner and operator, lessor and/or lessee, or agents of the owners, lessors and/or
3
     lessees, franchisor and/or franchisee, of the building and/or buildings which constitute a public
4
     facility in and of itself, occupied by HAMPTON INN & SUITES COLUMBUS SCIOTO
5

6    DOWNS, a public accommodation, located at/near 5950 South High Street, Columbus, Ohio,

7    and subject to the requirements of Ohio state law requiring full and equal access to public
8
     facilities pursuant to Ohio Revised Code § 4112.02, et seq., Ohio Administrative Code § 4101:1-
9
     11, et sec., and subject to the Americans with Disability Act of 1990 (“title III” AND “ADA”),
10
     42. U.S.C. §§ 12181 et seq., and to all other legal requirements referred to in this complaint.
11

12           8. At all times relevant to this complaint, Defendants are the lessees, or agents of the

13   lessees, and/or lessors, of said premises, a public facility at/near 5950/6000 South High Street,
14
     Columbus, Ohio. The businesses are open to the general public and they conduct business
15
     therein. The businesses that operate on said premises are public accommodations subject to the
16
     requirements of Ohio Revised Code § 4112.02, et seq. and Ohio Administrative Code § 4101:1-
17

18   11, et sec.

19           9. At all times relevant to this complaint, Defendants are the landlord/lessor,
20
     tenant/lessee and the owner and operator of the subject facilities, public accommodations located
21
     at/near 5950/6000 South High Street, Columbus, Ohio. As such, Defendants are jointly and
22
     severally responsible to identify and remove architectural barriers pursuant to Code of Federal
23

24   Regulations section 36.201(b), which states in pertinent part:

25           § 36.201       General
26
                            (b) Landlord and tenant responsibilities. Both the landlord
27                          who owns the building that houses a place of public
                            accommodation and the tenant who owns or operates the place of
28                          public accommodation are public accommodations subject to the
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 4
       Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 5 of 44 PAGEID #: 5



1                          requirements of this part. As between the parties, allocation of
                           responsibility for complying with the obligations of this part may
2
                           be determined by lease or other contract.
3
                           CFR §36.201(b)
4
     PRELIMINARY FACTUAL ALLEGATIONS:
5

6           10. Defendants are the entities that own, lease (or lease to), or operate ELDORADO

7    GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO
8
     DOWNS, a racino facility and connecting hotel, located at/near 5950/6000 South High Street,
9
     Columbus, Ohio. ELDORADO GAMINGG SCIOTO DOWNS and HAMPTON INN &
10
     SUITES COLUMBUS SCIOTO DOWNS and each of its facilities are places “of public
11

12   accommodation” subject to the requirements of the Americans with Disability Act of 1990

13   (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio Revised Code § 4112.02, et seq.;
14
     and Ohio Administrative Code § 4101:1-11, et sec.
15
            11. On information and belief, said facilities have undergone “constructions, alterations,
16
     structural repairs and additions,” each of which has subjected ELDORADO GAMINGG
17

18   SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS to

19   handicapped access requirements.
20
                a. Parts of the Scioto Downs racing facility are subject to the 1991 Americans with
21
                   Disability Act Standards, and
22
                b. The rest of ELDORADO GAMINGG SCIOTO DOWNS, as well as the
23

24                 HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS are all subject to

25                 the mandatory requirements of the 2020 Americans with Disability Act Standards.
26
            12. NEAL is a person with a disability. NEAL is a “physically disabled person,”
27
     as defined by all applicable Ohio and United States laws. NEAL is a paraplegic and requires the
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 5
       Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 6 of 44 PAGEID #: 6



1    use of a wheelchair for mobility and to travel in public.
2
            13. At all times referred to herein and continuing to the present time, Defendants
3
     advertised, publicized and held out ELDORADO GAMINGG SCIOTO DOWNS and
4
     HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS as being handicapped accessible
5

6    and handicapped usable.

7           14. On or about November 16, 2019, November 17, 2019, January 30, 2020, January 31,
8
     2020, and August 3, 2020 (racino only), NEAL was an invitee and guest at the subject racino
9
     and hotel, arriving for purposes of entertainment and lodging.
10
            15. Upon his arrival, during his patronizing of the public accommodations, and upon his
11

12   exit of the facilities, NEAL personally encountered architectural barriers which denied him the

13   full and equal access to the property.
14
            16. Therefore, at said time and place, NEAL, a person with a disability, encountered
15
     the following inaccessible elements of the subject facilities which constituted architectural
16
     barriers and a denial of the proper and legally required access to a public accommodation to
17

18   persons with physical disabilities. By way of example and not as an exhaustive inventory of

19   Defendant’s violations, the following barriers to access were personally encountered by NEAL:
20
                               ELDORADO GAMINGG SCIOTO DOWNS
21
           A. ELDORADO CASINO - GENERALLY
22
        1) At the Eldorado Casino refreshment centers, the fountain controls, dispensers, and
23
           condiments are too high and out of the maximum reach range for a side approach in
24         violation of 2010 ADAS Section: 308.3.2 and 2009 ANSI A117.1 Section: 308.3.2.

25      2) At the Eldorado Casino bars, compliant knee and/or toe clearance is not provided in
           violation of 2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1,
26
           306.2.2.
27
        3) At the Eldorado Casino, there are no accessible slot machines that comply with the ADA
28         work surface requirements in violation of 2010 ADAS Section: 226.1.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 6
      Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 7 of 44 PAGEID #: 7



1       4) At the Eldorado Casino, the slot machines are not accessible because there is not
           adequate clear floor space for either a forward or side approach in violation of 2010
2
           ADAS Section: 305.3 and 2009 ANSI A117.1 Section: 305.3.
3
        5) At the Eldorado Casino, and throughout the slot machine areas, the route of travel at this
4          location does not provide a minimum width of 36 inches in violation of 2010 ADAS
           Section: 403.5.1 and 2009 ANSI A117.1 Section: 403.5.
5

6       6) At the Eldorado Casino’s slot machines, compliant knee and/or toe clearance is not
           provided in violation of 2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section:
7          306.2.1, 306.2.2.
8
          B. MENS RESTROOM BY MAIN ENTRANCE
9
        7) At the men’s restroom by the main entrance, knee clearance at 27 inches off the floor is
10         not 8 inches minimum deep in violation of 2010 ADAS Section: 306.3.3 and 2009 ANSI
           A117.1 Section: 306.3.3.
11

12      8) At the men’s restroom by the main entrance, the paper towel dispenser's operation
           mechanism is too high off the floor in violation of 2010 ADAS Section: 308.2.1 and 2009
13         ANSI A117.1 Section: 308.2.1.
14
        9) At the men’s restroom by the main entrance, the mirror is mounted too high in violation
15         of 2010 ADAS Section: 603.3 and 2009 ANSI A117.1 Section: 1002.11.2.2.

16      10) At the men’s restroom by the main entrance, the toilet seat cover dispenser is mounted
            too high and is not located in an accessible location in violation of 2010 ADAS Section:
17
            205.1 and 2009 ANSI A117.1 Section: 308.1.
18
        11) At the men’s restroom by the main entrance, the required 56 inches by 60 inches clear
19          floor space for the water closet has been obstructed by the trash can in violation of 2010
            ADAS Section: 604.3.1 and 2009 ANSI A117.1 Section: 604.3.1.
20

21      12) At the men’s restroom by the main entrance, the shelf is not accessible because there is
            not adequate clear floor space for an approach in violation of 2010 ADAS Section: 305.3
22          and 2009 ANSI A117.1 Section: 305.3.
23
        13) At the men’s restroom by the main entrance, the shelf is too high and is out of the
24          maximum reach range for a side approach in violation of 2010 ADAS Section: 308.3.2
            and 2009 ANSI A117.1 Section: 308.3.2.
25
        14) At the men’s restroom by the main entrance, the side grab bar is obstructed in violation of
26
            2010 ADAS Section: 609.3 and 2009 ANSI A117.1 Section: 609.3.
27
        15) At the men’s restroom by the main entrance, the rim of the urinal is too high in violation
28          of 2010 ADAS Section: 605.2 and 2009 ANSI A117.1 Section: 605.2.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 7
      Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 8 of 44 PAGEID #: 8



1         C. DASH CAFE
2
        16) At the Dash Cafe, there are no accessible dining surfaces in violation of 2010 ADAS
3           Section: 226.1.

4       17) At the Dash Cafe, compliant knee and/or toe clearance is not provided in violation of
            2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1, 306.2.2.
5

6         D. GIFT SHOP

7       18) At the Gift Shop, the route of travel at this location does not provide a minimum width of
            36 inches in violation of 2010 ADAS Section: 403.5.1 and 2009 ANSI A117.1 Section:
8
            403.5.
9
        19) At the Gift Shop, a portion of the merchandise is not accessible because there is not
10          adequate clear floor space for either a forward or side approach in violation of 2010
            ADAS Section: 305.3 and 2009 ANSI A117.1 Section: 305.3.
11

12        E. REFRESHMENT COUNTERS

13      20) At the refreshment counters, the transaction counters are too high in violation of 2010
            ADAS Section: 904.4.2, 904.4.1 and 2009 ANSI A117.1 Section: 904.3.
14

15      21) At the refreshment counters, the drink dispensers and cups are not accessible because
            they are located over an obstruction greater than 34 inches tall in violation of 2010
16          ADAS Section: 308.3.2 and 2009 ANSI A117.1 Section: 308.3.2.
17
        22) At the refreshment counters, the floormats are not secured in place at the drinks counter
18          in violation of 2010 ADAS Section: 302.2 and 2009 ANSI A117.1 Section: 302.2.

19        F. HIGH ROLLER RESTROOM SOUTH
20
        23) At the High Roller Restroom South, the toilet seat cover dispenser is mounted too high
21          and is not located in an accessible location in violation of 2010 ADAS Section: 205.1 and
            2009 ANSI A117.1 Section: 308.1.
22
        24) At the High Roller Restroom South, the shelf is out of reach range because the depth of
23
            the obstruction is greater than 25 inches in violation of 2010 ADAS Section: 308.2.2,
24          603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.

25      25) At the High Roller Restroom South, the toilet paper is not installed within the compliant
            range in violation of 2010 ADAS Section: 604.7.
26

27      26) At the High Roller Restroom South, the toilet is not located within the range allowed
            from the side wall or partition in violation of 2010 ADAS Section: 604.2 and 2009 ANSI
28          A117.1 Section: 604.2.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 8
      Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 9 of 44 PAGEID #: 9



1
        27) At the High Roller Restroom South, the mirror is mounted too high in violation of 2010
2
            ADAS Section: 603.3 and 2009 ANSI A117.1 Section: 1002.11.2.2.
3
        28) At the High Roller Restroom South, knee clearance at 27 inches off the floor is not 8
4           inches minimum deep in violation of 2010 ADAS Section: 306.3.3 and 2009 ANSI
            A117.1 Section: 306.3.3.
5

6       29) At the High Roller Restroom South, the restroom is missing the International Symbol of
            Accessibility (ISA) in violation of 2010 ADAS Section: 216.8.
7
          G. MENS RESTROOM ACROSS FROM DASH CAFE
8

9       30) At the Men’s restroom across from Dash, the toilet seat cover dispenser is mounted too
            high and is not located in an accessible location in violation of 2010 ADAS Section:
10          205.1 and 2009 ANSI A117.1 Section: 308.1.
11
        31) At the Men’s restroom across from Dash, the shelf is out of reach range because the
12          depth of the obstruction is greater than 25 inches in violation of 2010 ADAS Section:
            308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.
13
        32) At the Men’s restroom across from Dash, the toilet seat cover dispenser in the type B stall
14
            is mounted too high and is not located in an accessible location in violation of 2010
15          ADAS Section: 205.1 and 2009 ANSI A117.1 Section: 308.1.

16      33) At the Men’s restroom across from Dash, the toilet seat cover dispenser in the type B stall
            is mounted too high and is not located in an accessible location in violation of 2010
17
            ADAS Section: 205.1 and 2009 ANSI A117.1 Section: 308.1.
18
        34) At the Men’s restroom across from Dash, knee clearance at 27 inches off the floor is not
19          8 inches minimum deep in violation of 2010 ADAS Section: 306.3.3 and 2009 ANSI
            A117.1 Section: 306.3.3.
20

21      35) At the Men’s restroom across from Dash, the mirror is mounted too high in violation of
            2010 ADAS Section: 603.3 and 2009 ANSI A117.1 Section: 1002.11.2.2.
22
        36) At the Men’s restroom across from Dash, the maximum allowable reach cannot be
23
            obtained because the knee clearance is obstructed in violation of 2010 ADAS Section:
24          306.3.3 and 2009 ANSI A117.1 Section: 306.3.3.

25      37) At the Men’s restroom across from Dash, the restroom is missing the International
            Symbol of Accessibility (ISA) in violation of 2010 ADAS Section: 216.8.
26

27      38) At the Men’s restroom across from Dash, the toilet seat is not located within the range
            allowed off the floor in violation of 2010 ADAS Section: 604.4 and 2009 ANSI A117.1
28          Section: 604.4.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 9
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 10 of 44 PAGEID #: 10



1
        39) At the Men’s restroom across from Dash, the locking/latching hardware is not accessible
2
            in violation of 2010 ADAS Section: 604.8.1.2.
3
        40) At the Men’s restroom across from Dash, the rim of the urinal is too high in violation of
4           2010 ADAS Section: 605.2 and 2009 ANSI A117.1 Section: 605.2.
5
        41) At the Men’s restroom across from Dash, a compliant room identification sign is missing
6           on the strike side of the door in violation of 2010 ADAS Section: 216.2 and 2009 ANSI
            A117.1 Section: 703.1.1.
7
        42) At the Men’s restroom across from Dash, the paper towel dispenser's operation
8
            mechanism is too high off the floor in violation of 2010 ADAS Section: 308.2.1 and 2009
9           ANSI A117.1 Section: 308.2.1.

10      43) At the Men’s restroom across from Dash, the shelf is out of reach range because the
            depth of the obstruction is greater than 25 inches in violation of 2010 ADAS Section:
11
            308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.
12
          H. CASINO BAR SOUTH OF BREW BROTHERS
13
        44) At the casino bar south of Brew Brothers, compliant knee and/or toe clearance is not
14
            provided in violation of 2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section:
15          306.2.1, 306.2.2.

16        I. EVENTS COUNTER
17
        45) At the Events Counter, the transaction counter is too high in violation of 2010 ADAS
18          Section: 904.4.2, 904.4.1 and 2009 ANSI A117.1 Section: 904.3.

19        J. OPEN AIR TERRACE SE CORNER
20
        46) At the open-air terrace SE corner, compliant knee and/or toe clearance is not provided in
21          violation of 2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1,
            306.2.2.
22
        47) At the open-air terrace SE corner, the fire alarm is not accessible because there is not
23
            adequate clear floor space for either a forward or side approach in violation of 2010
24          ADAS Section: 305.3 and 2009 ANSI A117.1 Section: 305.3.

25        K. OPEN AIR TERRACE WEST
26
        48) At the open-air terrace west, the bar does not have a low seating space in violation of
27          2010 ADAS Section: 226.1.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 10
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 11 of 44 PAGEID #: 11



1         L. MENS SE CORNER BY OPEN AIR TERRACE
2
        49) At the men’s SE corner by the open-air terrace, the restroom is missing the International
3           Symbol of Accessibility (ISA) in violation of 2010 ADAS Section: 216.8.

4       50) At the men’s SE corner by the open-air terrace, the paper towel dispenser's operation
            mechanism is too high off the floor in violation of 2010 ADAS Section: 308.2.1 and 2009
5
            ANSI A117.1 Section: 308.2.1.
6
        51) At the men’s SE corner by the open-air terrace, the rim of the urinal is too high in
7           violation of 2010 ADAS Section: 605.2 and 2009 ANSI A117.1 Section: 605.2.
8
        52) At the men’s SE corner by the open air terrace, the shelf is out of reach range because the
9           depth of the obstruction is greater than 25 inches in violation of 2010 ADAS Section:
            308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.
10
        53) At the men’s SE corner by the open-air terrace, a compliant room identification sign is
11
            missing on the strike side of the door in violation of 2010 ADAS Section: 216.2 and 2009
12          ANSI A117.1 Section: 703.1.1.

13      54) At the men’s SE corner by the open-air terrace, knee clearance at 27 inches off the floor
            is not 8 inches minimum deep in violation of 2010 ADAS Section: 306.3.3 and 2009
14
            ANSI A117.1 Section: 306.3.3.
15
        55) At the men’s SE corner by the open air terrace, the shelf in the type B stall is out of reach
16          range because the depth of the obstruction is greater than 25 inches in violation of 2010
            ADAS Section: 308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.
17

18      56) At the men’s SE corner by the open air terrace, the toilet seat cover dispenser in the type
            B stall is mounted too high and is not located in an accessible location in violation
19          of 2010 ADAS Section: 205.1 and 2009 ANSI A117.1 Section: 308.1.
20
        57) At the men’s SE corner by the open air terrace, the shelf is out of reach range because the
21          depth of the obstruction is greater than 25 inches in violation of 2010 ADAS Section:
            308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.
22
          M. REFRESHMENTS COUNTER SOUTH WALL
23

24      58) At the refreshments counter on the south wall, the drink dispenser counter is too high in
            violation of 2010 ADAS Section: 904.4.2, 904.4.1 and 2009 ANSI A117.1 Section:
25          904.3.
26
        59) At the refreshments counter on the south wall, the drink dispensers and cups are not
27          accessible because they are, is located over an obstruction greater than 34 inches tall and
            > 48" aff in violation of 2010 ADAS Section: 308.3.2 and 2009 ANSI A117.1 Section:
28          308.3.2.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 11
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 12 of 44 PAGEID #: 12



1
        60) At the refreshments counter on the south wall, the floormat is not secured in place at the
2
            drinks counter in violation of 2010 ADAS Section: 302.2 and 2009 ANSI A117.1
3           Section: 302.2.

4         N. MENS RESTROOM BY SMOKING PATIO
5
        61) At the men’s restroom by the smoking patio, a compliant room identification sign is
6           missing on the strike side of the door in violation of 2010 ADAS Section: 216.2 and 2009
            ANSI A117.1 Section: 703.1.1,
7
        62) At the men’s restroom by the smoking patio, the restroom is missing the International
8
            Symbol of Accessibility (ISA) in violation of 2010 ADAS Section: 216.8.
9
        63) At the men’s restroom by the smoking patio, knee clearance at 27 inches off the floor is
10          not 8 inches minimum deep in violation of 2010 ADAS Section: 306.3.3 and 2009 ANSI
            A117.1 Section: 306.3.3.
11

12      64) At the men’s restroom by the smoking patio, the mirror is mounted too high in violation
            of 2010 ADAS Section: 603.3 and 2009 ANSI A117.1 Section: 1002.11.2.2.
13
        65) At the men’s restroom by the smoking patio, the paper towel dispenser's operation
14
            mechanism is too high off the floor in violation of 2010 ADAS Section: 308.2.1 and 2009
15          ANSI A117.1 Section: 308.2.1.

16      66) At the men’s restroom by the smoking patio, the maximum allowable reach cannot be
            obtained because the knee clearance is obstructed in violation of 2010 ADAS Section:
17
            306.3.3 and 2009 ANSI A117.1 Section: 306.3.3.
18
        67) At the men’s restroom by the smoking patio, the toilet seat cover dispenser is mounted
19          too high and is not located in an accessible location in violation of 2010 ADAS Section:
            205.1 and 2009 ANSI A117.1 Section: 308.1.
20

21      68) At the men’s restroom by the smoking patio, the shelf is out of reach range because the
            depth of the obstruction is greater than 25 inches in violation of 2010 ADAS Section:
22          308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.
23
        69) At the men’s restroom by the smoking patio, the toilet seat cover dispenser in the type B
24          stall is mounted too high and is not located in an accessible location in violation of 2010
            ADAS Section: 205.1 and 2009 ANSI A117.1 Section: 308.1.
25
        70) At the men’s restroom by the smoking patio, the shelf in the type B stall is out of reach
26
            range because the depth of the obstruction is greater than 25 inches in violation of 2010
27          ADAS Section: 308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 12
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 13 of 44 PAGEID #: 13



1       71) At the men’s restroom by the smoking patio, the rim of the urinal is too high in violation
            of 2010 ADAS Section: 605.2 and 2009 ANSI A117.1 Section: 605.2.
2

3       72) At the men’s restroom by the smoking patio, the shelf is out of reach range because the
            depth of the obstruction is greater than 25 inches in violation of 2010 ADAS Section:
4           308.2.2, 603.4 and 2009 ANSI A117.1 Section: 308.2.2, 603.4.
5
          O. UPPER BAR
6
        73) At the Upper Bar, the credit card reader is not accessible because it is located over an
7           obstruction greater than 34 inches tall in violation of 2010 ADAS Section: 308.3.2 and
            2009 ANSI A117.1 Section: 308.3.2.
8

9       74) At the Upper Bar, compliant knee and/or toe clearance is not provided in violation of
            2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1, 306.2.2.
10
        75) At the Upper Bar, the tabletop GAMINGg is out of reach range because the depth of the
11
            obstruction is greater than 25 inches in violation of 2010 ADAS Section: 308.2.2 and
12          2009 ANSI A117.1 Section: 308.2.2.

13      76) At the Upper Bar, compliant knee and/or toe clearance is not provided in violation of
            2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1, 306.2.2.
14

15        P. SCIOTO DOWNS HORSE RACING

16      77) At Scioto Downs, the entrance is not accessible and is missing signage in violation of
            2010 ADAS Section: 216.6.
17

18      78) At Scioto Downs, the accessible route on the site contains running slopes greater than 5%
            and has not been constructed as a ramp (i.e. handrails, wheel guides, etc.) in violation of
19          2010 ADAS Section: 403.3 and 2009 ANSI A117.1 Section: 403.3.
20
        79) At Scioto Downs, there are no accessible outdoor dining surfaces in violation of 2010
21          ADAS Section: 226.1.

22      80) At Scioto Downs, the transaction counter is too high in violation of 2010 ADAS Section:
            904.4.2, 904.4.1 and 2009 ANSI A117.1 Section: 904.3.
23

24      81) At Scioto Downs, compliant knee and/or toe clearance is not provided in violation of
            2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1, 306.2.2.
25
        82) At Scioto Downs, the wheelchair seating spaces are not on an accessible route in
26
            violation of 2010 ADAS Section: 802.1.4, 802.1.5 and 2009 ANSI A117.1 Section:
27          802.5.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 13
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 14 of 44 PAGEID #: 14



1       83) At Scioto Downs, the vending machines are too high and out of the maximum reach
            range for a side approach in violation of 2010 ADAS Section: 308.3.1 and 2009 ANSI
2
            A117.1 Section: 308.3.1.
3
        84) At Scioto Downs, the transaction counter is too high in violation of 2010 ADAS Section:
4           904.4.2, 904.4.1 and 2009 ANSI A117.1 Section: 904.3.
5
        85) At Scioto Downs, the off-track wagering machines are too high and out of the maximum
6           reach range for a side approach in violation of 2010 ADAS Section: 308.3.1 and 2009
            ANSI A117.1 Section: 308.3.1.
7
          Q. SCIOTO DOWNS CLUBHOUSE
8

9       86) At Scioto Downs Clubhouse, the doormats are not secured in place at the entry door in
            violation of 2010 ADAS Section: 302.2 and 2009 ANSI A117.1 Section: 302.2.
10
        87) At Scioto Downs Clubhouse, the bar does not have a low seating space in violation of
11
            2010 ADAS Section: 226.1.
12
        88) At Scioto Downs Clubhouse, the off-track wagering machines are too high and out of the
13          maximum reach range for a side approach in violation of 2010 ADAS Section: 308.3.1
            and 2009 ANSI A117.1 Section: 308.3.1.
14

15      89) At Scioto Downs Clubhouse, the transaction counter is too high in violation of 2010
            ADAS Section: 904.4.2, 904.4.1 and 2009 ANSI A117.1 Section: 904.3.
16
        90) At Scioto Downs Clubhouse, the floor mats are not secured in place at the service counter
17
            in violation of 2010 ADAS Section: 302.2 and 2009 ANSI A117.1 Section: 302.2.
18
        91) At Scioto Downs Clubhouse, compliant knee and/or toe clearance is not provided in
19          violation of 2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1,
            306.2.2.
20

21      92) At Scioto Downs Clubhouse, the transaction counter is too high in violation of 2010
            ADAS Section: 904.4.2, 904.4.1 and 2009 ANSI A117.1 Section: 904.3.
22
        93) At the Scioto Downs Clubhouse, the transaction counter is too high in violation of 2010
23
            ADAS Section: 904.4.2, 904.4.1 and 2009 ANSI A117.1 Section: 904.3.
24
        94) At the Scioto Downs Clubhouse, the off-track wagering machines are too high and out of
25          the maximum reach range for a side approach in violation of 2010 ADAS Section:
            308.3.1 and 2009 ANSI A117.1 Section: 308.3.1.
26

27      95) At the Scioto Downs Clubhouse, the handrail does not have the required extension at the
            top of the stair flight in violation of 2010 ADAS Section: 505.10.2 and 2009 ANSI
28          A117.1 Section: 505.10.2.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 14
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 15 of 44 PAGEID #: 15



1
        96) At the Scioto Downs Clubhouse, the handrail does not have a compliant extension at the
2
            bottom of the stair flight in violation of 2010 ADAS Section: 505.10.3 and 2009 ANSI
3           A117.1 Section: 505.10.3.

4       97) At the Scioto Downs Clubhouse, the ramp does not have compliant handrails in violation
            of 2010 ADAS Section: 505.1 and 2009 ANSI A117.1 Section: 505.1.
5

6       98) At the Scioto Downs Clubhouse, the handrail does not extend past the ramp in violation
            of 2010 ADAS Section: 505.10.1 and 2009 ANSI A117.1 Section: 505.10.1, 505.10.2.
7
        99) At the Scioto Downs Clubhouse, the handrails on the ramp do not have compliant shape
8
            in violation of 2010 ADAS Section: 505.7, 505.7.1, 505.7.2 and 2009 ANSI A117.1
9           Section: 505.7, 505.7.1, 505.7.2.

10      100)       At the Scioto Downs Clubhouse, the ramp's slope exceeds the maximum running
           slope (direction of travel) allowable of 8.33% in violation of 2010 ADAS Section: 405.2
11
           and 2009 ANSI A117.1 Section: 405.2.
12
        101)       At the Scioto Downs Clubhouse, the ramp is too long and too high without an
13         intermediate landing. The maximum rise for a ramp with an 8.33% slope is 30 inches in
           violation of 2010 ADAS Section: 405.6 and 2009 ANSI A117.1 Section: 405.6.
14

15      102)      At the Scioto Downs Clubhouse, the vending machines are too high and out of the
           maximum reach range for a side approach in violation of 2010 ADAS Section: 308.3.1
16         and 2009 ANSI A117.1 Section: 308.3.1.
17
          R. CLUBHOUSE MENS RESTROOM NORTH
18
        103)     At the clubhouse men’s restroom north, the restroom is missing the International
19         Symbol of Accessibility (ISA) in violation of 2010 ADAS Section: 216.8.
20
        104)      At the clubhouse men’s restroom north, the door exceeds the maximum pressure
21         to open the door in violation of 2010 ADAS Section: 404.2.9 and 2009 ANSI A117.1
           Section: 404.2.8.
22
        105)       At the clubhouse men’s restroom north, the rim of the urinal is too high in
23
           violation of 2010 ADAS Section: 605.2 and 2009 ANSI A117.1 Section: 605.2.
24
        106)       At the clubhouse men’s restroom north, knee clearance at 27 inches off the floor
25         is not 8 inches minimum deep in violation of 2010 ADAS Section: 306.3.3 and 2009
           ANSI A117.1 Section: 306.3.3.
26

27      107)      At the clubhouse men’s restroom north, the water closet compartment door is
           missing a loop handle on the inside in violation of 2010 ADAS Section: 604.8.1.2 and
28         2009 ANSI A117.1 Section: 604.9.3.
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 15
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 16 of 44 PAGEID #: 16



1       108)       At the clubhouse men’s restroom north, the compartment door is not self-closing
           in violation of 2010 ADAS Section: 604.8.1.2 and 2009 ANSI A117.1 Section: 604.9.3.
2

3       109)      At the clubhouse men’s restroom north, the coat hook is installed greater than 48
           inches above the finished floor in violation of 2010 ADAS Section: 308.2.1 and 2009
4          ANSI A117.1 Section: 308.2.1.
5
        110)       At the clubhouse men’s restroom north, the side grab bar is not long enough in
6          violation of 2010 ADAS Section: 604.5.1 and 2009 ANSI A117.1 Section: 604.5.1.

7       111)     At the clubhouse men’s restroom north, the side grab bar does not extend far
           enough from the rear wall in violation of 2010 ADAS Section: 604.5.1 and 2009 ANSI
8
           A117.1 Section: 604.5.1.
9
        112)     At the clubhouse men’s restroom north, the rear grab bar is missing in violation of
10         2010 ADAS Section: 609.4 and 2009 ANSI A117.1 Section: 609.4.1.
11
        113)      At the clubhouse men’s restroom north, the toilet compartment is not wide
12         enough in violation of 2010 ADAS Section: 604.8.1.1 and 2009 ANSI A117.1 Section:
           604.9.2.1.
13
        114)       At the clubhouse men’s restroom north, the room contains 6 or more fixtures and
14
           therefore must have a minimum of one ambulatory toilet stall in violation of 2010 ADAS
15         Section: 213.3.1.

16        S. CLUBHOUSE MENS RESTROOM SOUTH
17
        115)     At the clubhouse men’s restroom south, the restroom is missing the International
18         Symbol of Accessibility (ISA) in violation of 2010 ADAS Section: 216.8.

19      116)      At the clubhouse men’s restroom south, the door exceeds the maximum pressure
           to open the door in violation of 2010 ADAS Section: 404.2.9 and 2009 ANSI A117.1
20
           Section: 404.2.8.
21
        117)       At the clubhouse men’s restroom south, the rim of the urinal is too high in
22         violation of 2010 ADAS Section: 605.2 and 2009 ANSI A117.1 Section: 605.2.
23
        118)       At the clubhouse men’s restroom south, the compartment stall is not compliant in
24         violation of 2010 ADAS Section: 603.1 and 2009 ANSI A117.1 Section: 603.1.

25      119)      At the clubhouse men’s restroom south, the light switch is too high and is out of
           the maximum reach range for a side approach in violation of 2010 ADAS Section:
26
           308.3.1 and 2009 ANSI A117.1 Section: 308.3.1.
27

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 16
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 17 of 44 PAGEID #: 17



1       120)      The toilet seat cover dispenser is mounted too high and is not located in an
           accessible location in violation of 2010 ADAS Section: 205.1 and 2009 ANSI A117.1
2
           Section: 308.1.
3
                   HAMPTON INN & SUITES, COLUMBUS SCIOTO DOWNS
4
        A. HAMPTON INN PARKING LOT
5

6       1) At the Hampton Inn Parking Lot, at the parking stall nearest the entrance, the cross
           slopes (narrow dimension) and/or running slopes (long dimension) of the accessible stall
7          exceeds 2% in violation of 2010 ADAS Section: 502.4 and 2009 ANSI A117.1 Section:
           502.5
8

9       2) At the Hampton Inn Parking Lot, the cross slope (short dimension) of the access aisle
           between the nearest and 2nd stalls exceeds 2% in violation of 2010 ADAS Section:
10         502.4 and 2009 ANSI A117.1 Section: 502.5.
11
        3) At the Hampton Inn Parking Lot, the cross slope (narrow dimension) of the 2nd parking
12         stall exceeds 2% in violation of 2010 ADAS Section: 502.4 and 2009 ANSI A117.1
           Section: 502.5.
13
        4) At the Hampton Inn Parking Lot, the running slope (long dimension) of the 3rd
14
           accessible parking stall exceeds 2% in violation of 2010 ADAS Section: 502.4 and 2009
15         ANSI A117.1 Section: 502.5.

16      5) At the Hampton Inn Parking Lot, the cross slope (short dimension) of the 3rd access
           aisle exceeds 2% in violation of 2010 ADAS Section: 502.4 and 2009 ANSI A117.1
17
           Section: 502.5.
18
        6) At the Hampton Inn Parking Lot, there are approximately 500 parking stalls that could
19         be reasonably associated with the front portion of the hotel facility in the shared parking
           lot in violation of 2010 ADAS Section: 208.2.
20

21      7) At the Hampton Inn Parking Lot, there are approximately 109 parking stalls that could
           be reasonably associated with the back portion/rear entry of the hotel facility in the
22         shared parking lot in violation of 2010 ADAS Section: 208.2.
23
        8) At the Hampton Inn Parking Lot, the ramp does not have compliant handrails in
24         violation of 2010 ADAS Section: 505.1 and 2009 ANSI A117.1 Section: 505.1.

25      9) At the Hampton Inn Parking Lot, the ramp does not have protection against wheel
           entrapment in violation of 2010 ADAS Section: 405.9.2 and 2009 ANSI A117.1
26
           Section: 405.9.2, 405.9.2.2.
27

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 17
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 18 of 44 PAGEID #: 18



1       10) At the Hampton Inn Parking Lot, the ramp does not have an extended floor surface
            beyond the ramp handrails in violation of 2010 ADAS Section: 405.9.1 and 2009 ANSI
2
            A117.1 Section: 405.9.1.
3

4
         B. HAMPTON LOBBY/RECEPTION AREA
5

6       11) At the Hampton Lobby/Reception Area the card reader is not accessible because it is
            located over an obstruction greater than 34 inches tall in violation of 2010 ADAS
7           Section: 308.3.2 and 2009 ANSI A117.1 Section: 308.3.2.
8
         C. HAMPTON’S MEN’S RESTROOM NEAREST THE LOBBY
9
        12) At the Hampton’s Men Restroom nearest the lobby, the door exceeds the maximum
10          pressure to open the door in violation of 2010 ADAS Section: 404.2.9 and 2009 ANSI
            A117.1 Section: 404.2.8.
11

12      13) At the Hampton’s Men’s Restroom nearest the lobby, the entry door coat hook is
            installed greater than 48 inches above the finished floor in violation of 2010 ADAS
13          Section: 308.2.1 and 2009 ANSI A117.1 Section: 308.2.1.
14
        14) At the Hampton’s Men’s Restroom nearest the lobby, the maneuvering clearance at the
15          door is obstructed in violation of 2010 ADAS Section: 404.2.4.1 and 2009 ANSI A117.1
            Section: 404.2.3.1, 404.2.3.2, 404.2.3.3.
16
        15) At the Hampton’s Men’s Restroom nearest the lobby, the flush handle is located on the
17
            wrong side of the toilet in violation of 2010 ADAS Section: 604.6 and 2009 ANSI
18          A117.1 Section: 604.6.

19      16) At the Hampton’s Men’s Restroom nearest the lobby, the toilet paper is not installed
            within the compliant range in violation of 2010 ADAS Section: 604.7.
20

21      17) At the Hampton’s Men’s Restroom nearest the lobby, the lavatory projects into the clear
            floor space required for the toilet in violation of 2010 ADAS Section: 604.3.2 and 2009
22          ANSI A117.1 Section: 604.3.3.
23
        18) At the Hampton’s Men’s Restroom nearest the lobby, the water and drainpipes under the
24          lavatory are not adequately insulated in violation of 2010 ADAS Section: 606.5 and
            2009 ANSI A117.1 Section: 606.6, 1003.12.4.4.
25
        19) At the Hampton’s Men’s Restroom nearest the lobby, the mirror is mounted too high in
26
            violation of 2010 ADAS Section: 603.3 and 2009 ANSI A117.1 Section: 1002.11.2.2.
27

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 18
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 19 of 44 PAGEID #: 19



1       20) At the Hampton’s Men’s Restroom nearest the lobby, the soap dispenser's operation
            mechanism is too high off the floor in violation of 2010 ADAS Section: 308.2.1 and
2
            2009 ANSI A117.1 Section: 308.2.1.
3
        21) At the Hampton’s Men’s Restroom nearest the lobby, the paper towel dispenser's
4           operation mechanism is too high off the floor in violation of 2010 ADAS Section:
            308.2.1 and 2009 ANSI A117.1 Section: 308.2.1.
5

6       22) At the Hampton’s Men’s Restroom nearest the lobby, the flush handle is located on the
            wrong side of the toilet in violation of 2010 ADAS Section: 604.6 and 2009 ANSI
7           A117.1 Section: 604.6.
8
       D. HAMPTON POOL AREA
9
        23) At the Hampton pool, the lift had no power and could not be operated in violation of
10          2010 ADAS Section: 242.2 and 2009 ANSI A117.1 Section: 1109.1.1.
11
        24) At the Hampton pool, the route of travel at this location does not provide a minimum
12          width of 36 inches in violation of 2010 ADAS Section: 403.5.1 and 2009 ANSI A117.1
            Section: 403.5.
13
        25) At the Hampton pool, the tactile sign is incorrectly located in violation of 2010 ADAS
14
            Section: 703.4.2 and 2009 ANSI A117.1 Section: 703.3.11.
15
       E. HAMPTON LOBBY HALLWAY
16
        26) At the Hampton Lobby hallway, there is not enough knee clearance under the drinking
17
            fountain in violation of 2010 ADAS Section: 602.2 and 2009 ANSI A117.1 Section:
18          602.2.

19     F. HAMPTON BREAKFAST AREA
20
        27) At the Hampton Breakfast area, there are no accessible dining surfaces in violation of
21          2010 ADAS Section: 226.1.

22      28) At the Hampton Breakfast area, compliant knee and/or toe clearance is not provided in
            violation of 2010 ADAS Section: 306.2.1 and 2009 ANSI A117.1 Section: 306.2.1,
23
            306.2.2.
24
      G. HAMPTON’S MEN’S RESTROOM NEAREST CASINO
25
        29) At the Hampton’s Men’s Restroom nearest the Casino, the door exceeds the maximum
26
            pressure to open the door in violation of 2010 ADAS Section: 404.2.9 and 2009 ANSI
27          A117.1 Section: 404.2.8.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 19
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 20 of 44 PAGEID #: 20



1       30) At the Hampton’s Men’s Restroom nearest the Casino, the entry door coat hook is
            installed greater than 48 inches above the finished floor in violation of 2010 ADAS
2
            Section: 308.2.1 and 2009 ANSI A117.1 Section: 308.2.1.
3
        31) At the Hampton’s Men’s Restroom nearest the Casino, the compartment door is not self-
4           closing in violation of 2010 ADAS Section: 604.8.1.2 and 2009 ANSI A117.1 Section:
            604.9.3.
5

6       32) At the Hampton’s Men’s Restroom nearest the Casino, the stall door coat hook is
            installed greater than 48 inches above the finished floor in violation of 2010 ADAS
7           Section: 308.2.1 and 2009 ANSI A117.1 Section: 308.2.1.
8
        33) At the Hampton’s Men’s Restroom nearest the Casino, the water closet compartment
9           door is missing a loop handle on the inside in violation of 2010 ADAS Section:
            604.8.1.2 and 2009 ANSI A117.1 Section: 604.9.3.
10
        34) At the Hampton’s Men’s Restroom nearest the Casino, the toilet compartment is not
11
            wide enough in violation of 2010 ADAS Section: 604.8.1.1 and 2009 ANSI A117.1
12          Section: 604.9.2.1.

13      35) At the Hampton’s Men’s Restroom nearest the Casino, the toilet is not located within the
            range allowed from the side wall or partition in violation of 2010 ADAS Section: 604.2
14
            and 2009 ANSI A117.1 Section: 604.2.
15
        36) At the Hampton’s Men’s Restroom nearest the Casino, the flush handle is located on the
16          wrong side of the toilet in violation of 2010 ADAS Section: 604.6 and 2009 ANSI
            A117.1 Section: 604.6.
17

18      37) At the Hampton’s Men’s Restroom nearest the Casino, the toilet paper is not installed
            within the compliant range in violation of 2010 ADAS Section: 604.7.
19
        38) At the Hampton’s Men’s Restroom nearest the Casino, the urinal is confined on three
20
            sides (alcove) in violation of 2010 ADAS Section: 305.7.1 and 2009 ANSI A117.1
21          Section: 605.2.

22      39) At the Hampton’s Men’s Restroom nearest the casino, the paper towel dispenser's
            operation mechanism is too high off the floor in violation of 2010 ADAS Section:
23
            308.2.1 and 2009 ANSI A117.1 Section: 308.2.1.
24
        40) At the Hampton’s Men’s Restroom nearest the casino, the soap dispenser's operation
25          mechanism is too high off the floor in violation of 2010 ADAS Section: 308.2.1 and
            2009 ANSI A117.1 Section: 308.2.1.
26

27      41) At the Hampton’s Men’s Restroom nearest the casino, the mirror is mounted too high in
            violation of 2010 ADAS Section: 603.3 and 2009 ANSI A117.1 Section: 1002.11.2.2.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 20
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 21 of 44 PAGEID #: 21



1       42) At the Hampton’s Men’s Restroom nearest the casino, the electrical outlet is too high
            and is out of the maximum reach range for a side approach in violation of 2010 ADAS
2
            Section: 308.3.1 and 2009 ANSI A117.1 Section: 308.3.1.
3
       H. HAMPTON ROOM 109
4
        43) At the Hampton’s Room 109, the toe space is missing at the bottom of the lavatory in
5
            violation of 2010 ADAS Section: 306.2.4 and 2009 ANSI A117.1 Section: 306.2.4.
6
        44) At the Hampton’s Room 109, the apron at the sink projects too low to the floor in
7           violation of 2010 ADAS Section: 306.3.1 and 2009 ANSI A117.1 Section: 306.3.1.
8
        45) At the Hampton’s Room 109, the shower stall is not open along its full width in
9           violation of 2010 ADAS Section: 608.2.2.

10      46) At the Hampton’s Room 109, the shower seat is not located on the correct wall in
            violation of 2010 ADAS Section: 610.3.
11

12      47) At the Hampton’s Room 109, the operable parts of controls are not located correctly in
            violation of 2010 ADAS Section: 608.5.2.
13
        48) At the Hampton’s Room 109, the handheld sprayer unit is not located on the wall
14
            correctly in violation of 2010 ADAS Section: 608.5.3.
15
        49) At the Hampton’s Room 109, the handheld sprayer unit is not equipped with a non-
16          positive on/off control, in violation of 2010 ADAS Section: 608.6 and 2009 ANSI
            A117.1 Section: 608.5,
17

18      50) At the Hampton’s Room 109, the grab bar is not positioned correctly in violation of
            2010 ADAS Section: 609.4.
19
        51) At the Hampton’s Room 109, the required clear floor space is not wide enough in
20
            violation of 2010 ADAS Section: 305.3 and 2009 ANSI A117.1 Section: 305.3.
21
        52) At the Hampton’s Room 109, the clear floor space only allows for a forward approach
22          and the towel shelf is out of reach range in violation of 2010 ADAS Section: 308.2.1 and
            2009 ANSI A117.1 Section: 308.2.1.
23

24      53) At the Hampton’s Room 109, the towel hooks are too high and out of the maximum
            reach range for a side approach in violation of 2010 ADAS Section: 308.3.1 and 2009
25          ANSI A117.1 Section: 308.3.1,
26
        54) At the Hampton’s Room 109, the toilet is not located within the range allowed from the
27          side wall or partition in violation of 2010 ADAS Section: 604.2 and 2009 ANSI A117.1
            Section: 604.2.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 21
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 22 of 44 PAGEID #: 22



1        55) At the Hampton’s Room 109, the toilet paper is not installed within the compliant range
             in violation of 2010 ADAS Section: 604.7.
2

3        56) At the Hampton’s Room 109, the side grab bar does not extend far enough from the rear
             wall in violation of 2010 ADAS Section: 604.5.1 and 2009 ANSI A117.1 Section:
4            604.5.1.
5
         57) At the Hampton’s Room 109, the grab bar is obstructed in violation of 2010 ADAS
6            Section: 609.3 and 2009 ANSI A117.1 Section: 609.3.

7        58) At the Hampton’s Room 109, the side grab bar is too high in violation of 2010 ADAS
             Section: 609.4 and 2009 ANSI A117.1 Section: 609.4.1.
8

9        59) At the Hampton’s Room 109, the rear grab bar is too high in violation of 2010 ADAS
             Section: 609.4 and 2009 ANSI A117.1 Section: 609.4.1.
10
         60) At the Hampton’s Room 109, the sign providing directional and information is
11
             noncompliant in violation of 2010 ADAS Section: 216.3 and 2009 ANSI A117.1
12           Section: 703.1.2.

13       61) At the Hampton’s Room 109, the pull-out kitchenette shelf is too low and is out of the
             maximum reach range for a side approach in violation of 2010 ADAS Section: 308.3.1
14
             and 2009 ANSI A117.1 Section: 308.3.1.
15
         62) At the Hampton’s Room 109, the climate control is too high and is out of the maximum
16           reach range for a side approach in violation of 2010 ADAS Section: 308.3.1 and 2009
             ANSI A117.1 Section: 308.3.1.
17

18       63) At the Hampton’s Room 109, the route of travel at this location does not provide a
             minimum width of 36 inches in violation of 2010 ADAS Section: 403.5.1 and 2009
19           ANSI A117.1 Section: 403.5.
20
         64) At the Hampton’s Room 109, compliant knee clearance is not provided at the
21           nightstand in violation of 2010 ADAS Section: 306.3.3 and 2009 ANSI A117.1 Section:
            306.3.1, 306.3.3,306.3.2.
22
     On personal knowledge, information and belief, other public facilities and elements too
23

24   numerous to list were improperly inaccessible for use by persons with physical disabilities.

25          17. The discriminatory violations described in ¶ 16 are not an exclusive list of the
26
     Defendant’s violations. NEAL requires the inspection of the Defendant’s place of public
27
     accommodation in order to photograph and measure all of the discriminatory acts violating the
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 22
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 23 of 44 PAGEID #: 23



1    Americans with Disability Act of 1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq.,
2
     Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.
3
             18. At all times stated herein, the existence of architectural barriers at Defendants’
4
     place of public accommodation evidenced “actual notice” of Defendants’ intent not to comply
5

6    with the Americans with Disability Act of 1990 (“title III” and “ADA”), 42. U.S.C. §§ 12181 et

7    seq., Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.
8
     either then, now or in the future.
9
             19. As a legal result of Defendants’ failure to act as a reasonable and prudent public
10
     accommodation in identifying, removing or creating architectural barriers, policies, practices and
11

12   procedures that denied access to NEAL and other persons with disabilities, NEAL suffered

13   damages as alleged herein.
14
             20. As a further legal result of the actions and failure to act of Defendants, and as a
15
     legal result of the failure to provide proper handicapped-accessible public facilities as set forth
16
     herein, NEAL was denied his civil rights to full and equal access to public facilities. NEAL
17

18   suffered a loss of his civil rights and his rights as a person with physical disabilities to full and

19   equal access to public facilities, and further suffered from personal injury, shame, humiliation,
20
     embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated
21
     with a person with physical disabilities being denied access, all to his damages as prayed
22
     hereinafter in an amount within the jurisdiction of this court.
23

24           21. NEAL is “physically handicapped,” “physically disabled,” or a “person with

25   physical disabilities” who was denied his rights to equal access to a public facility by
26
     Defendants. Defendants maintained a public establishment without access for persons with
27
     physical disabilities as stated herein, and continue as of the date of filing this complaint to deny
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 23
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 24 of 44 PAGEID #: 24



1    equal access to NEAL and other persons with physical disabilities in these and other ways.
2
             22. On information and belief, construction and/or alterations carried out by Defendants
3
     have triggered access requirements under Americans with Disability Act of 1990 (“TITLE III”
4
     AND “ADA”), 42. U.S.C. §§ 12181 et seq., Ohio Revised Code § 4112.02, et seq.; and Ohio
5

6    Administrative Code §4101:1-11, et sec.

7            23. NEAL, as described herein below, seeks injunctive relief to require ELDORADO
8
     GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO
9
     DOWNS to be made accessible to meet the requirements of both Ohio law and the Americans
10
     with Disabilities Act, whichever is more restrictive, so long as Defendants operate and/or lease
11

12   ELDORADO GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS

13   SCIOTO DOWNS as public facilities. NEAL seeks damages for violation of his civil rights,
14
     from November 16, 2019 until such date as Defendants bring the establishments into full
15
     compliance with the requirements of Ohio and federal law.
16
             24. On information and belief, Defendants have been negligent in their affirmative duty
17

18   to identify the architectural barriers complained of herein and negligent in the removal of some

19   or all of said barriers.
20
             25. Because of Defendants’ violations, NEAL and other persons with physical
21
     disabilities are unable to use public facilities such as those owned and operated by Defendants on
22
     a “full and equal” basis unless such facilities are in compliance with the provisions of the
23

24           26. Americans with Disabilities Act and other accessibility law as plead herein. NEAL

25   seeks an order from this court compelling Defendants to make ELDORADO GAMINGG
26
     SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS accessible
27
     to persons with disabilities.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 24
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 25 of 44 PAGEID #: 25



1           27. On information and belief, Defendants have intentionally undertaken to modify and
2
     alter existing building(s), and have failed to make them comply with accessibility requirements.
3
     The acts and omissions of Defendants in failing to provide the required accessible public
4
     facilities at the time of NEAL’s visit and injuries, indicate actual and implied malice towards
5

6    NEAL, and despicable conduct carried out by Defendants with a willful and conscious disregard

7    for the rights and safety of NEAL and other similarly situated persons, and justify punitive
8
     damages pursuant to Ohio Revised Code § 2315.21, in amounts sufficient to make a more
9
     profound example of Defendants to other operators of other establishment and other public
10
     facilities, and to punish Defendants and to carry out the purposes of § 2315.21.
11

12          28. NEAL is informed and believes and therefore alleges that Defendants caused the

13   subject facility to be constructed, altered and maintained in such a manner that persons with
14
     physical disabilities were denied full and equal access to, within and throughout said building of
15
     Defendants and were denied full and equal use of said public facilities. Further, on information
16
     and belief, Defendants have continued to maintain and operate said facilities in such conditions
17

18   up to the present time, despite actual and constructive notice to such Defendants that the

19   configuration of the establishment and/or its building(s) is in violation of the civil rights of
20
     persons with physical disabilities, such as NEAL and the disability community. Such
21
     construction, modification, ownership, operation, maintenance and practices of such public
22
     facilities are in violation of law as stated in Americans with Disability Act of 1990 (“TITLE III”
23

24   AND “ADA”), 42. U.S.C. §§ 12181 et seq. and elsewhere in the laws of Ohio.

25          29. On information and belief, the subject public facilities and building(s) of
26
     ELDORADO GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS
27
     SCIOTO DOWNS denied full and equal access to NEAL and other persons with physical
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 25
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 26 of 44 PAGEID #: 26



1    disabilities in other respects due to noncompliance with requirements of Ohio Revised Code §
2
     4112.02, et seq.; and Ohio Administrative Code §4101:1-11, et sec.
3
            30. On personal knowledge, information and belief, the basis of Defendants’ actual
4
     and constructive notice that the physical configuration of the facilities including, but not limited
5

6    to, architectural barriers constituting ELDORADO GAMINGG SCIOTO DOWNS and

7    HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS was in violation of the civil rights
8
     of persons with physical disabilities, such as NEAL, includes, but is not limited to,
9
     communications with invitees and guests, owners of other establishments and businesses, notices
10
     Defendants obtained from governmental agencies upon modification, improvement, or
11

12   substantial repair of the subject premises and other properties owned by these Defendants,

13   newspaper articles and trade publications regarding the Americans with Disabilities Act and
14
     other access laws, public service announcements, and other similar information. Defendants’
15
     failure, under state and federal law, to make the establishment accessible is further evidence of
16
     Defendants’ conscious disregard for the rights of NEAL and other similarly situated persons with
17

18   disabilities. The scope and means of the knowledge of Defendants are within Defendants’

19   exclusive control and cannot be ascertained except through discovery. Despite being informed of
20
     such effect on NEAL and other persons with physical disabilities due to the lack of accessible
21
     facilities, Defendants knowingly and willfully refused to take any steps to rectify the situation
22
     and to provide full and equal access for NEAL and other persons with physical disabilities to the
23

24   establishment. Said Defendants have continued such practices, in conscious disregard for the

25   rights of NEAL and other persons with physical disabilities, up to the date of filing of this
26
     complaint, and continuing thereon. Defendants have further actual knowledge of the architectural
27
     barriers referred to herein by virtue of the notices addressed to the Defendants, which are
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 26
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 27 of 44 PAGEID #: 27



1    discussed below. Said conduct, with knowledge of the effect it was and is having on NEAL and
2
     other persons with physical disabilities, constitutes despicable conduct in conscious disregard of
3
     the rights and safety of NEAL and of other similarly situated persons, justifying the imposition
4
     of punitive damages.
5

6           31. Punitive Damages -- Defendants, at times prior to and including November 16, 2019

7    and continuing to the present time, knew that persons with physical disabilities were denied their
8
     rights of equal access to all portions of this public facility. Despite such knowledge, Defendants
9
     failed and refused to take steps to comply with the applicable access statutes; and despite
10
     knowledge of the resulting problems and denial of civil rights thereby suffered by NEAL and
11

12   other similarly situated persons with disabilities, including the specific notices referred to in this

13   complaint. Defendants have failed and refused to take action to grant full and equal access to
14
     persons with physical disabilities in the respects complained of hereinabove. Defendants have
15
     carried out a course of conduct of refusing to respond to, or correct complaints about, denial of
16
     handicap access and has refused to comply with its legal obligations to make ELDORADO
17

18   GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO

19   DOWNS accessible pursuant to the Americans with Disabilities Act and Ohio law. Such actions
20
     and continuing course of conduct by Defendants evidence despicable conduct in conscious
21
     disregard for the rights or safety of NEAL and of other similarly situated persons, justifying an
22
     award of punitive damages.
23

24          32. Defendants’ actions have also been oppressive to persons with physical

25   disabilities and of other members of the public, and have evidenced actual or implied malicious
26
     intent toward those members of the public, such as NEAL and other persons with physical
27
     disabilities who have been denied the proper access they are entitled to by law. Further,
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 27
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 28 of 44 PAGEID #: 28



1    Defendants’ refusals on a day-to-day basis to remove the barriers complained of herein evidence
2
     despicable conduct in conscious disregard for the rights of NEAL and other members of the
3
     public with physical disabilities.
4
             33. NEAL prays for an award of punitive damages against Defendants in an amount
5

6    sufficient to make a more profound example of Defendants and discourage owners and operators

7    of other establishments, and other public facilities, from willful disregard of the rights of persons
8
     with physical disabilities. Plaintiff does not know the financial worth of Defendants and seeks
9
     leave to amend this complaint when such facts are known.
10
             34. NEAL will return to ELDORADO GAMINGG SCIOTO DOWNS and HAMPTON
11

12   INN & SUITES COLUMBUS SCIOTO DOWNS, because he enjoys the casino, race track,

13   entertainment, food and drinks, hotel accommodations, location, and atmosphere there, if the
14
     facilities are made fully accessible to a disabled person in a wheelchair, and to also avail himself
15
     of the racino an hotel’s services. Furthermore, NEAL intends to return to the facilities as an
16
     ADA tester to ascertain whether Defendant removed the barriers to access which are the subject
17

18   of this litigation.

19   CLASS ALLEGATIONS
20
             35. Plaintiff SPENCER NEAL bring this action on behalf of himself and all persons
21
     similarly situated and seeks class certification pursuant to Federal Rule of Civil Procedure 23 as
22
     set forth below.
23

24           36. Class Definitions. The four classes that Plaintiff seeks to represent are comprised of

25   the following. The first class of persons seeks statutory damages under Ohio Revised Code
26
     Chapter 4112, et seq., and is defined as follows: All persons with mobility disabilities who use
27
     wheelchairs, scooters or other mobility aids who have purchased, attempted to purchase, or
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 28
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 29 of 44 PAGEID #: 29



1    for whom third parties purchased a mobility accessible guestroom at HAMPTON INN &
2
     SUITES COLUMBUS SCIOTO DOWNS and who have been denied equal access to the
3
     hotel’s facilities, services, amenities, and privileges since November 16, 2019 through the
4
     conclusion of this action.
5

6           37. The second class of persons seeks statutory damages under Ohio Revised Code

7    Chapter 4112, et seq., and is defined as follows: All persons with mobility disabilities who use
8
     wheelchairs, scooters or other mobility aids who have utilized or attempted to utilize any
9
     form of GAMINGg, horse betting, entertainment, service, or amenity at ELDORADO
10
     GAMINGG SCIOTO DOWNS and who have been denied equal access to the racino’s
11

12   facilities, services, amenities, and privileges since November 16, 2019 through the

13   conclusion of this action.
14
            38. The third class of persons seeks declaratory and injunctive relief, and is defined as
15
     follows: All persons with mobility disabilities who use wheelchairs, scooters or other
16
     mobility aids who will attempt to purchase a mobility accessible guestroom at HAMPTON
17

18   INN & SUITES COLUMBUS SCIOTO DOWNS and who will be denied equal access to

19   the facilities, services, amenities, and privileges since November 16, 2019 through the
20
     conclusion of this action.
21
            39. The fourth class of persons seeks declaratory and injunctive relief, and is defined as
22
     follows: All persons with mobility disabilities who use wheelchairs, scooters or other
23

24   mobility aids who will attempt to utilize the amenities at ELDORADO GAMINGG

25   SCIOTO DOWNS and who will be denied equal access to the facilities, services, amenities,
26
     and privileges since November 16, 2019 through the conclusion of this action.
27
            40. Excluded from the above-referenced class definitions are the officers, directors, and
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 29
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 30 of 44 PAGEID #: 30



1    employees of Defendants, and any of Defendants’ shareholders or other persons who hold a
2
     financial interest in Defendants. Also excluded is any judge assigned to hear this case (or any
3
     spouse or family member of any assigned judge), or any juror selected to hear this case.
4
            41. This action is brought as a class action and may properly be so maintained pursuant to
5

6    Federal Rule of Civil Procedure 23 and applicable case law. In addition to declaratory and

7    injunctive relief, this action seeks classwide damages pursuant to Ohio Revised Code Chapter
8
     4112 in the amount of $4,000 per violation per occurrence based on Defendants’ wrongful policy
9
     and practice of failing to provide full and equal access to the hotel and racino as alleged herein.
10
     This action does not seek class recovery for actual damages, personal injuries or emotional
11

12   distress that may have been caused by Defendants’ conduct alleged herein. The named Plaintiff

13   seeks compensatory damages for himself individually.
14
            42. Impracticability of Joinder (Numerosity of the Class). The members of the
15
     proposed classes are so numerous that joinder of all such persons is impracticable and the
16
     disposition of their claims in a class action is a benefit both to the parties and to this Court. On
17

18   information and belief, the number of persons in this case exceeds 1,000 persons. The number of

19   persons in the class and their identities and contact information may be ascertained from
20
     Defendants’ records.
21
            43. Questions of Fact and Law Common to the Class. All members of the classes have
22
     been and continue to be denied their civil rights to full and equal access to, and use and
23

24   enjoyment of, the services and facilities operated by the Defendants because of the violations of

25   disability nondiscrimination laws alleged herein. There are numerous questions of law and fact
26
     common to the class, including, but not limited to, the following:
27
                a. Whether Defendants SCIOTO DOWNS, INC. and COLUMBUS SOUTHEAST
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 30
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 31 of 44 PAGEID #: 31



1                HOTEL GROUP LLC are the owners, operators or lessors of a public
2
                 accommodation within the meaning of Title III of the ADA;
3
              b. Whether Defendants’ establishments are places of public accommodations within
4
                 the meaning of Chapter 4112 of the Ohio Revised Code.
5

6             c. Whether Defendants constructed ELDORADO GAMING SCIOTO DOWNS and

7                HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS and their related
8
                 facilities after March 15, 2012;
9
              d. Whether parts of the ELDORADO GAMING SCIOTO DOWNS horse racing
10
                 facility complies with the Americans with Disabilities Act Accessibility
11

12               Guidelines of 1991 (“ADAAG”);

13            e. Whether ELDORADO GAMING SCIOTO DOWNS and HAMPTON INN &
14
                 SUITES COLUMBUS SCIOTO DOWNS’s facilities comply with the 2010 ADA
15
                 Standards for Accessible Design;
16
              f. Whether ELDORADO GAMING SCIOTO DOWNS and HAMPTON INN &
17

18               SUITES COLUMBUS SCIOTO DOWNS facilities comply with Ohio Building

19               Code and 2009 ANSI A117.1 as it pertains to disability access;
20
              g. Whether Defendants are violating Ohio Revised Code Chapter 4112, et seq., by
21
                 failing to provide full and equal access to people with mobility disabilities;
22
              h. Whether Defendant are violating the Americans with Disabilities Act, Title III, et
23

24               seq., by failing to provide full and equal access to people with mobility

25               disabilities;
26
              i. Whether Defendants, by their actions and omissions alleged herein, have engaged
27
                 in a pattern and practice of discriminating against Plaintiff and other persons with
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 31
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 32 of 44 PAGEID #: 32



1                   mobility disabilities in violation of applicable state and federal disability civil
2
                    rights laws;
3
                j. Whether the Plaintiff and the members of the putative classes are entitled to
4
                    damages, and the nature of such damages; and,
5

6               k. Whether the Plaintiff and the members of the putative classes are entitled to

7                   declaratory and/or injunctive relief, and the nature of such relief.
8
            44. Typicality. The claims of the named Plaintiff is typical of those of the class.
9
     Plaintiff’s claims are typical of the claims of the proposed class in the following ways: 1)
10
     Plaintiff is a member of the proposed class; 2) Plaintiff’s claims arise from the same physical
11

12   barriers, procedures, practices and course of conduct on the part of Defendants; 3) Plaintiff’s

13   claims are based on the same legal and remedial theories as those of the proposed class and
14
     involve similar factual circumstances; 4) the injuries suffered by the named Plaintiff is similar to
15
     the injuries suffered by the proposed class members; and 5) the relief sought herein will benefit
16
     the named Plaintiff and all class members alike. The claims of Plaintiff are typical of those of the
17

18   proposed class of persons with mobility disabilities.

19          45. Adequacy. The named Plaintiff will fairly and adequately represent the interests of
20
     the respective classes. The named Plaintiff has no interests adverse to the interests of other
21
     members of the proposed classes, and has retained counsel who is competent and experienced in
22
     litigating complex class actions, including large-scale disability rights class action cases.
23

24          46. Predominance. With respect to Plaintiff’s claims under the ADA and Ohio Revised

25   Code Chapter 4112, et seq., class certification is appropriate under Federal Rule of Civil
26
     Procedure 23(b)(3) because questions of law or fact common to the class members predominate
27
     over any questions affecting only individual members of the proposed classes.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 32
      Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 33 of 44 PAGEID #: 33



1           47. Superiority. A class action is superior to other methods for the fair and efficient
2
     adjudication of this controversy because, inter alia: 1) individual claims by the class members
3
     would be impracticable because the costs of pursuit of such claims would far exceed what any
4
     individual class member has at stake; 2) relatively little individual litigation has been
5

6    commenced over the controversies alleged in this Complaint and individual class members are

7    unlikely to have an interest in separately prosecuting and controlling individual actions; 3) the
8
     concentration of litigation of these claims in one forum will achieve efficiency and promote
9
     judicial economy; 4) the proposed class is manageable, and no difficulties are likely to be
10
     encountered in the management of this class action that would preclude its maintenance as a
11

12   class action; 5) the proposed class members are readily identifiable from Defendants’ own

13   records; and 6) prosecution of separate actions by individual members of the proposed class
14
     would create the risk of inconsistent or varying adjudications with respect to individual members
15
     of the proposed class that would establish incompatible standards of conduct for Defendants.
16
            48. The Class Meets the Requirements of Federal Rule of Civil Procedure 23(b)(2).
17

18   Defendants have acted and refused to act on grounds generally applicable to the class, making

19   the declaratory and injunctive relief sought on behalf of the class as a whole appropriate.
20
            49. Without a class action, Defendants will likely retain the benefit of their wrongdoing
21
     and will continue in their illegal course of conduct which will result in further damages and
22
     injuries to the Plaintiffs and the proposed classes.
23

24   I.     FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
            ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
25          DISABILITIES ACT OF 1990 (42 U.S.C. §12101, et seq.)
26
            50.     NEAL pleads and incorporate by reference, as if fully set forth again herein,
27
     the allegations contained in paragraphs 1 through 49 of this complaint.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 33
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 34 of 44 PAGEID #: 34



1           51.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.
2
     §12101 regarding persons with physical disabilities, finding that laws were needed to more fully
3
     protect:
4
                    some 43 million Americans with one or more physical or mental
5
                    disabilities; [that] historically society has tended to isolate and
6                   segregate individuals with disabilities; [that] such forms of
                    discrimination against individuals with disabilities continue to be a
7                   serious and pervasive social problem; [that] the nation’s proper
                    goals regarding individuals with disabilities are to assure equality
8
                    of opportunity, full participation, independent living and economic
9                   self-sufficiency for such individuals; [and that] the continuing
                    existence of unfair and unnecessary discrimination and prejudice
10                  denies people with disabilities the opportunity to compete on an
                    equal basis and to pursue those opportunities for which our free
11
                    society is justifiably famous.
12
            52.     Congress stated as its purpose in passing the Americans with Disabilities Act of
13
     1990 (42 U.S.C. §12102):
14

15                  It is the purpose of this act (1) to provide a clear and
                    comprehensive national mandate for the elimination of
16                  discrimination against individuals with disabilities; (2) to provide
                    clear, strong, consistent, enforceable standards addressing
17
                    discrimination against individuals with disabilities; (3) to ensure
18                  that the Federal government plays a central role in enforcing the
                    standards established in this act on behalf of individuals with
19                  disabilities; and (4) to invoke the sweep of Congressional
                    authority, including the power to enforce the 14th Amendment and
20
                    to regulate commerce, in order to address the major areas of
21                  discrimination faced day to day by people with disabilities.

22          53.     As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),
23
     Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”
24
     (Section 301 42 U.S.C. §12181, et seq.). Among the public accommodations identified for
25
     purposes of this title was:
26

27                  (7) PUBLIC ACCOMMODATION - The following private
                    entities are considered public accommodations for purposes of this
28                  title, if the operations of such entities affect commerce -
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 34
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 35 of 44 PAGEID #: 35



1
                    (A) an inn, hotel, motel, or other place of lodging ***;
2

3                   (B) an entertainment facility, bar, or other establishment serving food or drink;

4                   42 U.S.C. §12181(7)(B).
5
            54.     Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated
6
     against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
7
     privileges, advantages, or accommodations of any place of public accommodation by any person
8

9    who owns, leases, or leases to, or operates a place of public accommodation.”

10          55.     The specific prohibitions against discrimination set forth in §302(b)(2)(a),
11
     42 U.S.C. §12182(b)(2)(a) are:
12
                    (i) the imposition or application of eligibility criteria
13                  that screen out or tend to screen out an individual with a disability
                    or any class of individuals with disabilities from fully and equally
14
                    enjoying any goods, services, facilities, privileges, advantages, or
15                  accommodations, unless such criteria can be shown to be
                    necessary for the provision of the goods, services, facilities,
16                  privileges, advantages, or accommodations being offered;
17
                    (ii) a failure to make reasonable modifications in
18                  policies, practices, or procedures, when such modifications are
                    necessary to afford such goods, services, facilities, privileges,
19                  advantages or accommodations to individuals with disabilities,
                    unless the entity can demonstrate that making such modifications
20
                    would fundamentally alter the nature of such goods, services,
21                  facilities, privileges, advantages, or accommodations;

22                  (iii) a failure to take such steps as may be necessary to
                    ensure that no individual with a disability is excluded, denied
23
                    services, segregated or otherwise treated differently than other
24                  individuals because of the absence of auxiliary aids and services,
                    unless the entity can demonstrate that taking such steps would
25                  fundamentally alter the nature of the good, service, facility,
                    privilege, advantage, or accommodation being offered or would
26
                    result in an undue burden;
27
                    (iv) a failure to remove architectural barriers, and
28                  communication barriers that are structural in nature, in existing
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 35
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 36 of 44 PAGEID #: 36



1                   facilities . . . where such removal is readily achievable; and
2
                    (v) where an entity can demonstrate that the removal of
3                   a barrier under clause (iv) is not readily achievable, a failure to
                    make such goods, services, facilities, privileges, advantages or
4                   accommodations available through alternative methods if such
                    methods are readily achievable.
5

6    The acts of Defendants set forth herein were a violation of NEAL’s rights under the ADA, 42.

7    U.S.C. §§ 12181 et seq.; Ohio Revised Code § 4112.02, et seq.; and Ohio Administrative Code §
8
     4101:1-11, et sec., making available damage remedies.
9
            56.     The removal of the barriers complained of by NEAL as hereinabove alleged
10
     was at all times after January 26, 1992, making compliance with the ADA mandatory. With the
11

12   possible exception of parts of the Scioto Downs horse racing facility, construction work on, and

13   modifications of, the subject building(s) of ELDORADO GAMINGG SCIOTO DOWNS and
14
     HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS occurred after the compliance
15
     date for the Americans with Disabilities Act, January 26, 1992, independently triggering access
16
     requirements under Title III of the ADA.
17

18          57.     Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, et

19   seq., §308, NEAL is entitled to the remedies and procedures set forth in §204(a) of the Civil
20
     Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination on
21
     the basis of disability in violation of this title or have reasonable grounds for believing that
22
     he is about to be subjected to discrimination in violation of §302. NEAL cannot return to or
23

24   make use of the public facilities complained of herein so long as the premises and Defendants’

25   policies bar full and equal use by persons with physical disabilities.
26
            58.     Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person
27
     with a disability to engage in a futile gesture if such person has actual notice that a person or
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 36
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 37 of 44 PAGEID #: 37



1    organization covered by this title does not intend to comply with its provisions.” Pursuant to this
2
     last section, NEAL has not returned to Defendants’ premises since on or about August 3, 2020,
3
     but on information and belief, alleges that Defendants have continued to violate the law and deny
4
     the rights of plaintiff and of other persons with physical disabilities to access this public
5

6    accommodation. Pursuant to §308(a)(2), “In cases of violations of §302(b)(2)(A)(iv) . . .

7    injunctive relief shall include an order to alter facilities to make such facilities readily accessible
8
     to and usable by individuals with disabilities to the extent required by this title.”
9
             59.     NEAL seeks relief pursuant to remedies set forth in §204(a) of the Civil
10
     Rights Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to
11

12   implement the Americans with Disabilities Act of 1990, including but not limited to an order

13   granting injunctive relief and attorneys’ fees. NEAL will seek attorneys’ fees conditioned upon
14
     being deemed to be the prevailing party.
15
             60.     NEAL seeks damages pursuant to Ohio Revised Code § 4112.02, et seq. and Ohio
16
     Administrative Code § 4101:1-11, et sec., which provide, within the statutory scheme, that a
17

18   violation of the ADA and/or Ohio’s accessibility standards is a violation of Ohio law.

19           Wherefore, plaintiff prays for relief and damages as hereinafter stated.
20
     II.     SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
21           IN VIOLATION OF OHIO REVISED CODE § 4112.02, et seq.

22           61.     Plaintiff repleads and incorporates by reference as if fully set forth again herein,
23
     the allegations contained in paragraphs 1 through 60 of this complaint.
24
             62.     At all times relevant to this action, Ohio Revised Code § 4112.0254 has provided
25
     that persons with physical disabilities are not to be discriminated against because of physical
26

27   handicap or disability. This section provides that:

28                   It shall be an unlawful discriminatory practice:
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 37
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 38 of 44 PAGEID #: 38



1                   (G)     For any proprietor or any employee, keeper, or manager of a place of
                            public accommodation to deny to any person, except for reasons
2
                            applicable alike to all persons regardless of race, color, religion, sex,
3                           military status, national origin, disability, age, or ancestry, the full
                            enjoyment of the accommodations, advantages, facilities, or privileges of
4                           the place of public accommodation.
5
            63.     ELDORADO GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES
6
     COLUMBUS SCIOTO DOWNS are places of public accommodation pursuant to Ohio Revised
7
     Code § 4112.01(A)(9).
8

9           64.     Defendants committed an unlawful act pursuant to Ohio Revised Code

10   § 4112.02(G) by denying NEAL the full enjoyment of its accommodations, advantages,
11
     facilities, or privileges, whereas, NEAL had great difficulty due to extensive barriers for patrons
12
     confined to wheelchairs.
13
            65.     Pursuant to Ohio Revised Code § 4112.99, NEAL is entitled to compensatory
14

15   and punitive damages, and attorney fees and costs, in an amount to be determined at trial, but in

16   any event not less than $25,000.00, as well as issuance of an injunction requiring defendant to
17
     allow full and equal enjoyment of its goods, services, facilities, privileges, and advantages to
18
     disabled persons.
19
            66.     A separate act in violation of Ohio Revised Code § 4112.02(G) has been
20

21   committed each day that Defendants act or fail to act and/or knowingly and willfully fail and

22   refuse to remove each architectural barrier or policy and procedure barrier presently existing at
23
     the subject public accommodation which denies full and equal access for persons with physical
24
     disabilities to said building(s), elements and facilities of ELDORADO GAMINGG SCIOTO
25
     DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS. NEAL has been
26

27   denied full and equal access on an ongoing basis since the date of his first visit. As a legal result,

28   NEAL is entitled to seek appropriate relief, such as damages, pursuant to Ohio Revised Code §
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 38
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 39 of 44 PAGEID #: 39



1    4112.99.
2
             67.     On November 16, 2019, November 17, 2019, January 30, 2020, January 31, 2020,
3
             and August 3, 2020 (racino only), NEAL suffered violations of Ohio Revised Code §
4
     4112.02(G) in that NEAL was denied access to the facilities as stated herein and on the basis that
5

6    NEAL was a person with physical disabilities.

7            68.     As a result of the denial of equal access to Defendants’ facilities due to the acts
8
     and omissions of Defendants in owning, operating and maintaining these subject public facilities,
9
     NEAL suffered violations of his civil rights, as well as suffering from personal injury, shame,
10
     humiliation, embarrassment, frustration, anger, chagrin, disappointment and worry, all of which
11

12   are expectedly and naturally associated with a denial of access to a person with physical

13   disabilities, all to plaintiff’s damages as hereinafter stated.
14
             69.     NEAL has been damaged by Defendants’ wrongful conduct and seeks the
15
     relief that is afforded by Ohio Revised Code § 4112 for violation of his rights as a person,
16
     including statutory damages according to proof.
17

18           70.     As a result of Defendants’ acts and omissions in this regard, NEAL has been

19   required to incur legal expenses and hire attorneys in order to enforce his rights and
20
     enforce the provisions of the law protecting access for persons with physical disabilities and
21
     prohibiting discrimination against persons with physical disabilities. Pursuant to the provisions
22
     of Ohio Revised Code § 4112, NEAL therefore will seek recovery in this lawsuit for all
23

24   reasonable attorneys’ fees and costs incurred if deemed the prevailing party.

25           Wherefore, plaintiff prays for relief and damages as hereinafter stated.
26
     III.    THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
27           IN VIOLATION OF OHIO ADMINISTRATIVE CODE § 4101:1-11, et seq.

28           71.     NEAL repleads and incorporates by reference as if fully set forth again herein, the
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 39
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 40 of 44 PAGEID #: 40



1    allegations contained in paragraphs 1 through 70 of this complaint.
2
             72.     Ohio Administrative Code (hereinafter “O.A.C.”) § 4101:1-11 controls the design
3
     and construction of facilities for accessibility for individuals with disabilities.
4
             73.     Sites, buildings, structures, facilities, elements and spaces, temporary or
5

6    permanent, shall be accessible to individuals with disabilities. O.A.C. § 1103.1.

7            74.     ELDORADO GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES
8
     COLUMBUS SCIOTO DOWNS, being a site, building, structure, facility, element or space,
9
     committed an unlawful act pursuant to O.A.C. §§ 1104.1 and 1109.1 by failing to make
10
     accessible its spaces, including but not limited to, its restrooms.
11

12           75.     ELDORADO GAMINGG SCIOTO DOWNS and HAMPTON INN & SUITES

13   COLUMBUS SCIOTO DOWNS committed an unlawful act pursuant to O.A.C. § 1108.1 by
14
     failing to provide accessible seating in its dining areas.
15
             76.     Defendants’ violations denied NEAL full enjoyment of its accommodations,
16
     advantages, facilities, or privileges, whereas, NEAL had difficulty entering the property due to
17

18   extensive barriers for patrons confined to wheelchairs on the accessible route.

19           77.     As a result of these violations, NEAL is entitled to compensatory and punitive
20
      damages, and attorney fees and costs, in an amount to be determined at trial, but in any event
21
      not less than $25,000.00, as well as issuance of an injunction requiring Defendants to allow full
22
      and equal enjoyment of its goods, services, facilities, privileges, and advantages to disabled
23

24    persons.

25           78.     A separate act in violation of Ohio Administrative Code § 4101:1-11, et seq. has
26
     been committed each day that Defendants act or fail to act and/or knowingly and willfully
27
     fail and refuse to make accessible its site for physically disabled persons presently existing at the
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 40
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 41 of 44 PAGEID #: 41



1    subject facilities. NEAL has been denied full and equal access on an ongoing basis since the date
2
     of his first visit. As a legal result, NEAL is entitled to seek appropriate relief, such as damages.
3
             79.     As a result of Defendants’ accessibility violations, NEAL suffered violations of
4
     his civil rights, as well as suffering from personal injury, shame, humiliation, embarrassment,
5

6    frustration, anger, chagrin, disappointment and worry, all of which are expectedly and naturally

7    associated with a denial of access to a person with physical disabilities, all to plaintiff’s damages
8
     as hereinafter stated.
9
             80.     NEAL has been damaged by Defendants’ wrongful conduct and seeks relief
10
     for violation of the O.A.C., including actual and special damages according to proof.
11

12           81.     As a result of Defendants’ acts and omissions in this regard, NEAL has been

13   required to incur legal expenses and hire attorneys in order to enforce plaintiff’s rights and
14
     enforce the provisions of the law protecting access for persons with physical disabilities and
15
     prohibiting discrimination against persons with physical disabilities. NEAL therefore will seek
16
     recovery in this lawsuit for all reasonable attorneys’ fees and costs incurred if deemed the
17

18   prevailing party.

19           Wherefore, Plaintiff SPENCER NEAL prays for relief and damages as hereinafter stated.
20
     O.R.C. 4112.16 NOTICE OF VIOLATION OF ACCESSIBILITY LAW
21
             82.     Pursuant to O.R.C. 4112.16 Notice of Violation of Accessibility Law, prior to
22
     filing a civil action alleging violation of State of Ohio accessibility law, the alleged aggrieved
23

24   party may notify the owner, agent, or other responsible party, by personal service or by certified

25   mail, of alleged accessibility law violations.
26
             83.     On September 8, 2020, Plaintiff served upon Defendant SCIOTO DOWNS,
27
             INC.’s statutory agent a Notice of Violation of Accessibility Law pursuant to O.R.C.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 41
      Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 42 of 44 PAGEID #: 42



1              4112.16.
2
          84. On September 9, 2020, Plaintiff served upon Defendant COLUMBUS SOUTHEAST
3
     HOTEL GROUP LLC’s statutory agent a Notice of Violation of Accessibility Law pursuant to
4
     O.R.C. 4112.16.
5

6         85. Defendant SCIOTO DOWNS, INC.’s statutory response deadline in which to serve

7    Plaintiff with its response was September 29, 2020.
8
          86. Defendant COLUMBUS SOUTHEAST HOTEL GROUP LLC’s statutory response
9
     deadline in which to serve Plaintiff with its response was September 30, 2020.
10
          87. Both Defendants failed to serve a response upon Plaintiff or his counsel within 15
11

12   business days of receiving the O.R.C. 4112.16 Notice.

13        88. Due to Defendants’ failure to respond in accordance with the statute, Plaintiff may
14
     commence his lawsuit for violations of State of Ohio accessibility laws.
15
          89. Due to Defendant’s failure to respond in accordance with the statute, Plaintiff, if deemed
16
     the prevailing party, shall recover reasonable attorney’s fees, in addition to any other remedies
17

18   available to the plaintiff.

19             Wherefore, Plaintiff SPENCER NEAL prays for relief and damages as hereinafter
20
     stated.
21
     PRAYER:
22
               Wherefore, NEAL prays that this court grant relief and damages as follows:
23

24   I.        PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
               PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
25             DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)
26
               1.     For injunctive relief, compelling Defendants to make ELDORADO GAMINGG
27
     SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS readily
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 42
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 43 of 44 PAGEID #: 43



1    accessible to and usable by individuals with disabilities; and to make reasonable modifications in
2
     policies, practice, eligibility criteria and procedures so as to afford full access to the goods,
3
     services, facilities, privileges, advantages and accommodations being offered.
4
             2.      For attorneys’ fees, litigation expenses and costs of suit, if NEAL is deemed
5

6    the prevailing party; and

7            3.      For such other and further relief as the court may deem proper.
8
     II.     PRAYER FOR SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND
9            EQUAL ACCESS IN VIOLATION OF OHIO REVISED CODE § 4112.02, et
             seq.
10
             4.      For injunctive relief, compelling Defendant to make ELDORADO GAMINGG
11

12   SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS readily

13   accessible to and usable by individuals with disabilities, per state law.
14
             5.      General and compensatory damages according to proof;
15
             6.      All damages for each day, from the inception of the filing of this complaint, on
16
     which Defendants have failed to remove barriers which denied NEAL and other persons
17

18   with disabilities full and equal access.

19           7.      Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if NEAL is
20
     deemed the prevailing party;
21
             8.      Punitive damages, pursuant to Ohio Revised Code § 2315.21;
22
             9.      For all costs of suit;
23

24           10.     Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);

25           11.     Such other and further relief as the court may deem just and proper.
26
     III.    PRAYER FOR THIRD CAUSE OF ACTION FOR DENIAL OF FULL AND
27           EQUAL ACCESS IN VIOLATION OF OHIO ADMINISTRATIVE CODE §
             4101:1-11, et seq.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 43
     Case: 2:20-cv-05240-ALM-KAJ Doc #: 1 Filed: 10/06/20 Page: 44 of 44 PAGEID #: 44



1           12.     For injunctive relief, compelling Defendants to make ELDORADO GAMINGG
2
     SCIOTO DOWNS and HAMPTON INN & SUITES COLUMBUS SCIOTO DOWNS readily
3
     accessible to and usable by individuals with disabilities, per state law.
4
            13.     General and compensatory damages according to proof;
5

6           14.     All damages for each day, from the inception of the filing of this complaint, on

7    which Defendant have failed to remove barriers which denied NEAL and other persons
8
     with disabilities full and equal access.
9
            15.     Attorneys’ fees pursuant to Ohio Revised Code § 4112.99, if NEAL is
10
     deemed the prevailing party;
11

12          16.     Punitive damages, pursuant to Ohio Revised Code § 2315.21;

13          17.     For all costs of suit;
14
            18.     Prejudgment interest pursuant to Ohio Revised Code 1343.03(A);
15
            19.     Such other and further relief as the court may deem just and proper.
16

17
                                             Respectfully submitted,
18
                                             BLAKEMORE, MEEKER & BOWLER CO., L.P.A.
19
                                             /s/ COLIN G. MEEKER
20
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25

26

27

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 44
